Case 2:05-cV-02413-.]DB-STA Document 31 Filed 08/24/05 Page 1 of 3 Page|D 33

    

»'/,
lN THE UNITED sTATEs DISTRICT CoURT F‘LED BY 7 D-C.
FOR THE WEsTERN DISTRICT oF TENNESSEE -
WESTERN DIVlsIoN 55 AUG 214 PH 3= |5
lHGW»S M GOU’LD
vlCKIE MILLER, § CLE§K@%S' midway mm
il ` F`§?F =`;'§§`\;l=f
Plaintiff, ) ‘ w . fl“"l‘llS
)
v. ) No. 05-2413 B/An
)
NIPPON CARBoN Co., LTD., er al., )
)
Defendants. )

 

ORDER GRANTING MOTION OF HARTFOR]) FIRE INSURANCE
COMPANY TO INTERVENE

 

Before the Court is the Motion of Hartford Fire Insurance Company (“Hartt`ord”) to
Intervene as Plaintiff filed on July 14, 2005. United States District Judge J. Daniel Breen
referred this motion to the Magistrate Judge for determination. Plaintiff failed to tile a response
to the motion as required by Local Rule 7.2(a)(2). “Failure to timely respond to any motion,
other than one requesting dismissal of a claim or action, may be deemed good grounds for
granting the motion.” Local Rule 7.2(a)(2). As such, for good cause shown and because Plaintit`f
failed to respond, the Motion is GRANTED. Hartford shall be permitted to intervene in the
above-styled case as a party plaintiff

IT IS SO ORDERED.

<: .f?;mw.es @~.)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: LZ:M;+ 252 ZOO.('

\
lell\.e ed 0 l e COCKE'{S ee[l.€o[] lo{pac@

“Th`\s documen ted FRCP en .,

W'nh Bule 58 auditor 79

 

August 25, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:05-CV-02413 Was distributed by faX, mail, or direct printing on

ESSEE

 

Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

1\/lemphis7 TN 38103

Kenneth 1. Schacter
Bingham McCutchen, LLP.
399 Park Avenue

NeW York7 NY 10022--468

.l ames F. Horner

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/lemphis7 TN 38103

Carl Wyatt

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/lemphis7 TN 38103

Dennis R. Baer

BAER BAER & BAER
100 N. Main Street

Ste. 25 10

1\/lemphis7 TN 38103

Michael E. Keeney

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/lemphis7 TN 38103--552

.l ames R. NeWsom

HARRIS SHELTON HANOVER WALSH7 PLLC.
One Commerce Square

Ste. 2700

1\/lemphis7 TN 38103--255

Case 2:05-cV-02413-.]DB-STA Document 31 Filed 08/24/05 Page 3 of 3

.l ames D. Wilson

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/lemphis7 TN 38103

Jill M. Steinberg

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/lemphis7 TN 38103

Joel H. Porter

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103--221

Thomas F. Barnett

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/lemphis7 TN 38103

Taylor Cates

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Shannon E. Holbrook

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/lemphis7 TN 38103

.l. Mark Griffee

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

Page|D 35

